        Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 1 of 12



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             IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION
                                 )
FOREST SERVICE EMPLOYEES         ) CV-22-168-M-DLC
FOR ENVIRONMENTAL ETHICS, )
                                 ) PLAINTIFF’S REPLY BRIEF IN
         Plaintiff,              ) SUPPORT OF MOTION FOR
                                 ) SUMMARY JUDGMENT
     vs.                         )
                                 )
UNITED STATES FOREST             )
SERVICE,                         )
                                 )
                Defendant.       )
                                 )


Introduction

      In this matter Plaintiff Forest Service Employees for Environmental Ethics

(FSEEE) asks the Court both to declare that the Forest Service has been

discharging retardant pollutants into waters of the United States without a permit

and to enjoin the Forest Service from discharging retardant pollutants into waters

of the United States without a permit. The Forest Service admits that it has been


                                         1
        Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 2 of 12



discharging retardant pollutants into national forest waters of the United States

without a permit and that it is now seeking a permit from the US EPA to discharge

retardant pollutants. Thus, the Forest Service admits it is in violation of the Clean

Water Act and this Court should grant FSEEE summary judgment on its Clean

Water Act claim.

      While admitting it is in violation of the Clean Water Act, the Forest Service

is primarily concerned about the scope of an injunction during the expected two to

three years that it will take to go through the permit process. The agency first

argues that FSEEE does not have the requisite injury in fact for a widespread

injunction. The agency then argues that it would have to completely cease the

aerial application of retardants to prevent accidental discharges into waters of the

United States and that this would be untenable. The Forest Service has not offered

any options other than complete cessation of aerial retardant drops or business as

usual. See Dkt#11 at 9-10. However, the “accidental” drops into water do not occur

because aircraft doors pop open randomly midflight and spill retardant, the

accidental drops into waters occur when an aircraft attempts to drop retardant on a

certain area but overshoots or undershoots the target zone.

      What the evidence from the last 12 years shows is that 300 feet is not a

sufficient buffer to prevent these accidental discharges. The Forest Service could

simply declare certain areas out-of-bounds for retardants, or expand the buffer



                                           2
        Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 3 of 12



zone around waterways to 600 feet, as it has for certain imperiled species, so that

the chances of getting too close to waterways are essentially removed.

      Generally, it is not this Court’s role to design how the Forest Service

complies with the injunction FSEEE seeks against retardant discharges directly

into water. The Court could simply enjoin the agency from discharging retardant

into waters of the United States without a permit, and leave it to agency to decide

how to comply with the Court’s order. However, the Court could use its equitable

powers of remedy here to expand the buffer zone around waters to 600 feet – a

distance already enacted by the Forest Service to protect certain species – pending

Forest Service acquisition of a NPDES permit from the EPA. See Weinberger v.

Romero-Barcelo, 456 U.S. 305, 310-320 (1982). Such an injunction would likely

eliminate the “accidental” discharges of retardants into waters of the United States

on national forests.

      Argument

      1. FSEEE has standing

      The Forest Service argues that FSEEE has not shown concrete and

particularized injury for the discharges of retardant into national forest waters other

than Sespe Creek in the Los Padres National Forest. Dkt#11 at 2. “Standing under

Article III of the Constitution requires that an injury be concrete, particularized,

and actual or imminent; fairly traceable to the challenged action; and redressable



                                           3
          Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 4 of 12



by a favorable ruling.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149

(2010).

      FSEEE has provided the Declaration of FSEEE member George Wuerthner

to establish standing and to show the particularized concrete harm to FSEEE’s

members of the continued drop of retardants into waters of the United States on

national forests. See Dkt#18. Mr. Wuerthner has been to every western national

forest in the United States, has seen retardant applied, and is harmed by the failure

to have the safeguards of the Clean Water Act in place for retardant applications.

Moreover, Mr. Wuerthner has declared his intentions to continue to visit the

western national forests in the future. Dkt#18 ¶¶4-10. As the Forest Service

acknowledges, see Dkt#11 at 11, “environmental plaintiffs adequately allege injury

in fact when they aver that they use the affected area and are persons for whom the

aesthetic and recreational values of the area will be lessened by the challenged

activity.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S.

167, 183 (2000) (quotations omitted). Few individuals have such a wide-reaching

personal and professional interest in fires in our nation’s national forests as Mr.

Wuerthner, who has authored numerous books on fire management and national

forests. Dkt#18 ¶4. Mr. Wuerthner has declared the requisite concrete and

particularized injury in fact necessary to establish FSEEE's standing.




                                           4
       Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 5 of 12



      2. Injunction

      FSEEE asks the Court to enjoin the Forest Service from dumping retardant

pollutants into waters of the United States without a NPDES permit. As noted

above, the Forest Service admits that it has no permit and has started the process of

obtaining a permit. The Forest Service argues that an injunction is neither

necessary nor proper here, first because FSEEE has not shown harm and because

the public interest does not support an injunction.

      A plaintiff seeking a permanent injunction must satisfy a four-factor test
      before a court may grant such relief. A plaintiff must demonstrate: (1) that it
      has suffered an irreparable injury; (2) that remedies available at law, such as
      monetary damages, are inadequate to compensate for that injury; 3) that,
      considering the balance of hardships between the plaintiff and defendant, a
      remedy in equity is warranted; and (4) that the public interest would not be
      disserved by a permanent injunction.

Monsanto, 561 U.S. at 156-57 (quotations omitted).

      Here, FSEEE has offered the declarations of George Wuerthner, Peter

Deneen, and Mary Arkoosh to show the irreparable harm resulting from the Forest

Service’s application of retardant pollutants into waters of the United States. See

Dkt#18, Dkt#16, Dkt#19, Dkt#4. Once retardant pollutant is discharged into waters

of the United States, the harm cannot be undone. Mr. Deneen’s and Mr.

Wuerthner’s harm is cognizable and concrete when the retardant is dumped into

the waters on our national forests. See, e.g., Dkt#18 ¶¶7-10. Dr. Arkoosh’s

declaration and research establish that accidental retardant discharges can be



                                          5
        Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 6 of 12



acutely toxic to fish. Dkt#16 ¶¶4-6. Dr. Arkoosh's research also shows that

retardant discharges can adversely affect salmon populations by harming the parr-

to-smolt transition necessary to salmon survival in the ocean. Id. FSEEE has

shown that the harm is irreparable.

      Regarding the second factor, monetary damages and other remedies at law

cannot rectify the harm. Injunctive relief is usually appropriate in environmental

cases, such as this one, because “environmental injury, by its nature, can seldom be

adequately remedied by money damages and is often permanent or at least of long

duration, i.e., irreparable.” Northern Cheyenne Tribe v. Norton, 503 F.3d 836, 843

(2007), quoting Amoco Production Co. v. Village of Gambell, 480 U.S. 531, 545

(1987). FSEEE has met the second factor.

      Regarding the balance of hardships and the public interest factors, the Forest

Service offers several declarations in an attempt to establish that the application of

retardant pollution in waters of the United States is in the public interest, and that

the balance of hardships must swing to the Forest Service to allow it to dump

retardant as part of its fire management regime. See Dkt#12-2, Dkt#12-3.

      The Forest Service’s argument is essentially summed up by its assertion that

FSEEE wants a “one size fits all” injunction that would “disregard the facts and

circumstances of each discharge.” Dkt#11 at 26. In the 2011 ROD, the Forest

Service agreed that it would stay 300 feet away from waterways. This was a “one



                                           6
        Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 7 of 12



size fits all” with the possible exceptions for emergency situations. The results

from the past decade show that the 300-foot buffer is insufficient to prevent

overshoots and undershoots of aerially-applied retardant discharges into water. The

Forest Service argues that it must have the discretion to decide whether a retardant

dump into water is the better option to protect the public interest, namely aquatic

species and human safety. Id. at 25-27.

      There are several problems with the agency’s argument. The most important

problem is that the Forest Service has no evidence that retardant actually works to

deter the spread of fires. As explained by Andy Stahl, there is a negative

correlation between retardant use and initial attack success on the national forests;

that is, the more retardant used by a national forest, the lower its success in keeping

fires small. Dkt#17 ¶7. Further, as Stahl explains, the Forest Service has admitted

that it does not ‘truly understand’ and cannot make ‘any valid conclusions’

regarding the effectiveness of fire retardant in keeping fires small.” Dkt#17 ¶8.

Three-quarters of ignitions treated with retardant escape initial attack and grow

larger than 300 acres. Dkt#17 ¶¶11-12. For fires larger than 300 acres, the Forest

Service has no way of knowing whether use of retardant contributes in any way to

the outcome of the fire. Dkt#17 ¶14.

      Fire Ecologist Dr. Phil Higuera explains that the most recent data indicates

that the area burned by wildfires in the West has doubled over the past four



                                          7
        Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 8 of 12



decades due to increasingly warm, dry weather and climate conditions affecting

most of the West. Dkt#20 ¶4. Wildfire-caused structure loss in the West has

increased by over three-fold from the 1999-2009 decade to the 2010-2020 decade,

out-pacing the increase in area burned over this same period, and nearly every

Western state has seen higher structure loss rates. Dkt#20 ¶6. “This increase in

structure losses has occurred notwithstanding significant increases in wildfire

suppression spending and aerial retardant deployed. The disconnect between

wildfire suppression efforts and structure loss is because most structure loss occurs

under extreme conditions: high winds, with fire burning through very dry fuels. It

is under these extreme conditions when fire suppression tactics are least effective,

and in many cases not possible. For example, air tankers simply cannot fly during

the periods of high wind. Under such extreme conditions, wildfires are more akin

to earthquakes or hurricanes: efforts to stop them are largely futile.” Dkt#20 ¶7.

      Most wildfires in the West that resulted in structure loss were started from

unintentional human-related ignitions. Further, homes typically ignite not by

flames contacting structures, but by embers collecting and igniting home materials

itself, be it roofing, siding, or dead vegetation accumulated in eaves and crevasses,

so the most effective way to prevent structure loss is building structures with fire-

resistant materials and design, and minimizing flammable vegetation on and near

structures. Dkt#20 ¶¶8-9.



                                          8
        Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 9 of 12



      Brian Sexton’s declaration, Dkt#12-5, offers an example of how the Forest

Service’s assumptions that applying retardant was critical to protecting human

lives and structures were without basis. As Peter Deneen points out, Mr. Sexton

got his facts wrong regarding the Sespe Creek fire. The only affected humans were

removed before the retardant was applied, and the only structure theoretically at

risk was Patton’s Cabin, an unoccupied seasonal structure about one mile west of

the fire’s westernmost flank. Dkt#19 ¶¶2-4. The incident log itself notes “no

structures threatened.” Dkt#19-1 at 4.

      The Forest Service argues that “[d]ischarges of fire retardant into waters

occur as a consequence of the Forest Service’s efforts to fight fires that can

endanger human life and safety; can destroy private property, including homes and

businesses; and can impact public lands, terrestrial animals, and other natural

resources.” Dkt#11 at 25. However, the empirical data show that retardant is only

used on 5% of fires, use of retardant is only 25% effective at keeping fires under

300 acres, and retardant plays virtually no role in saving structures from fire. There

does not appear to be any actual public benefit to allow the Forest Service to dump

retardant pollutants into waters of the United States on national forests. Thus, the

third and fourth factors militate for an injunction in this matter.

      Reviewing courts have considered the scope and breadth injunctions in

environmental cases similar to this case, and have consistently allowed district



                                           9
          Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 10 of 12



courts to craft an injunction to fit the circumstances. See, e.g., Weinberg, 456 U.S.

at 312.

      Where plaintiff and defendant present competing claims of injury, the
      traditional function of equity has been to arrive at a nice adjustment and
      reconciliation between the competing claims. In such cases, the court
      balances the conveniences of the parties and possible injuries to them
      according as they may be affected by the granting or withholding of the
      injunction. The essence of equity jurisdiction has been the power of the
      Chancellor to do equity and to mould each decree to the necessities of the
      particular case. Flexibility rather than rigidity has distinguished it.

Weinberger, 456 U.S. at 312 (quotations omitted).

      The Forest Service is now in the process of obtaining a permit for retardant

use. The evidence before the Court shows that 300 feet is an insufficient buffer to

prevent “accidental” discharges to waters of the United States. The Forest Service

already requires a 600-foot buffer in certain circumstances to prevent harm to

species. See Dkt#17-3 at 3. FSEEE asks this Court to use its flexible equitable

powers to require the Forest Service to implement a 600-foot buffer around

national forest waterbodies during the pendency of the agency’s application for a

Clean Water Act permit. The extended buffer should allow aircraft an extra

measure of leeway from “accidental” discharges into waters of the United States.

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                                          10
       Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 11 of 12



Conclusion

   The Forest Service admits that it is dumping retardant into navigable waters

without an NPDES permit, and it is now going through the process of obtaining a

permit from the US EPA. FSEEE asks this Court to grant summary judgment in

favor of FSEEE and enjoin the Forest Service from dumping retardant within 600

feet of waterbodies on national forests until it has an NPDES permit.



DATED this 9th day of March, 2023.

                                             /s/ Timothy M. Bechtold
                                             BECHTOLD LAW FIRM, PLLC


                                             Attorney for FSEEE




                                        11
       Case 9:22-cv-00168-DLC Document 24 Filed 03/09/23 Page 12 of 12



                      CERTIFICATE OF COMPLIANCE

Pursuant to L.R. 7.1, I certify that the foregoing document contains 2271 words,
and that a table of contents, table of authorities, and an index of exhibits are not
required for this brief.

                                             /s/Timothy M. Bechtold




                                        12
